Case 3:17-cv-00072-NKM-JCH Document 658 Filed 02/13/20 Page 1 of 2 Pageid#: 8966


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     Acvxaioo,TkovxssAxskakdloux
     D OE,
                                                          CivilActionNo.3:i7-cv-00072-NKM
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                        Plaintiffs,


     JASOS KESSLER,eta1.,
                        D efendants.
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                 CESS TO CERTAIN DISCOVERY OF DEFENDV T VANUUARD
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          W HEREAS,onFebruary12,2020,PlainùffsfiledaM otionforDirectAccesstoCertain
    Discoveq of Defendant Vanguard Am erica '
                                            and did notpublicly file supporting Exhibit3 in
    accordancewithPlaintiffs'positio:thatthisExhlbitcontainsConfidentialorHighlyCbnttdential
    inform ationptlrsuantto theOrderfortheProduction ofDocum entàandExchangeofConfidential

    InformationenteredonJanuary3,2018(ECFNo.167);

           W H EREA S,Plaintiffshave provided an unredacted copy ofthisExhibitto theCourtand

    moved,ptlrsuantto LocalRule9,fortllisExhibittobesealed.

          IT IS H EREBY OR DERED thatExhibit 3 to Plaintiffs'M otion for Direct Access to

    Certain Discovçry ofDefendantVànguard Americabesealed ptlrsuanttoLocalRule9.
Case 3:17-cv-00072-NKM-JCH Document 658 Filed 02/13/20 Page 2 of 2 Pageid#: 8967




         D ated:Febm ary 13,2020

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                                     Hon.JoelC.Hoppe,M .J.
